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                               UNITED STATES DISTRICT COURT

                                  DISTRICT OF MINNESOTA



Luminara Worldwide, LLC,                     NO. 14-cv-03103 (SRN/FLN)

                  Plaintiff,
v.                                           DECLARATION OF JOSEPH P. REID
                                             IN SUPPORT OF DEFENDANTS’
Liown Electronics Co. Ltd., Shenzhen         MOTION TO STRIKE THE EXPERT
Liown Electronics Co. Ltd., Liown            OPINIONS OF DOUG PATTON DUE
Technologies/Beauty Electronics, LLC,        TO CLAIMS OF PRIVILEGE
Boston Warehouse Trading Corp., Abbott
of England (1981), Ltd., BJ’s Wholesale
Club, Inc., Von Maur, Inc., Zulily, Inc.,
Smart Candle, LLC, Tuesday Morning
Corp., Ambient Lighting, Inc., The Light
Garden, Inc., and Central Garden & Pet
Co.,
              Defendants.
Shenzhen Liown Electronics Co. Ltd. and
Central Garden & Pet Co.,

                  Counterclaim Plaintiffs,
v.

Luminara Worldwide, LLC, QVC, Inc.,
Darice, Inc., Bed Bath & Beyond, Inc.,
Williams-Sonoma Stores, Inc., PC
Treasures, Inc., and Brookstone Stores,
Inc.,
               Counterclaim Defendants.




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         I, Joseph P. Reid, hereby declare as follows:

         1.       I am an attorney at the law firm of Perkins Coie LLP, counsel for

Defendants and Counterclaim Plaintiffs in the above-referenced action. This declaration

is submitted in support of Defendants’ Memorandum of Law Regarding Motion to Strike

the Expert Opinions of Doug Patton Due to Claims of Privilege, and is made of my own

personal knowledge.

         2.       Attached as Exhibit A is a true and correct copy of excerpts from the

Deposition Transcript of Doug Patton, taken on October 29, 2015. FILED UNDER

SEAL.

         3.       Attached as Exhibit B is a true and correct copy of the webpage located at

http://www.pattondesign.com/bio.htm, retrieved on March 31, 2016.

         4.       Attached as Exhibit C is a true and correct copy of Luminara’s Rule

26(a)(1)(A) Initial Disclosures, served on December 31, 2014.

         5.       Attached as Exhibit D is a true and correct copy of Defendants’ Subpoena

to Doug Patton to Produce Documents, Information, and Objects or to Permit Inspection

of Premises, served January 23, 2015.

         6.       Attached as Exhibit E is a true and correct copy of Doug Patton’s

Objections to Defendants’ document subpoena, served on February 6, 2015.

         7.       Attached as Exhibit F is a true and correct copy of Luminara’s Rule

26(a)(2)(C) Disclosures, served on February 1, 2015.

         8.       Attached as Exhibit G is a true and correct copy of an article titled “Expert

Witness Disclosures: How to Comply and Avoid Exclusion,” authored by Courtland C.


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Merrill on April 8, 2008 (retrieved from http://mnbenchbar.com/2008/04/expert-witness-

disclosures/ on February 18, 2016).

         9.       I certify pursuant to Minnesota Local Rule 7.1 that counsel for Defendants

have met and conferred with counsel for Luminara, but have been unable to resolve any

of the issues raised in the present motion.

         I declare under penalty of perjury that the foregoing is true and correct. Executed

this 1st day of April, 2016, at San Diego, California.

                                                     /s/ Joseph P. Reid
                                              Name




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